                           Case 1:20-cv-00812-SDG Document 1-1 Filed 02/21/20 Page 1 of 4

~:::::~:::::~: mfu~'''' ="'''d.~m ''n~~:~~~.~~'~!~~~'''fPJ~~,,~Qn:~J.,:.,Q.B.1Z"
                             ••                                          ...
10call1lles of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS AITACHED)


I. (a) PLAINTIFF(S)                                                                                    DEFENDANT(S)
          byron-wendell:phillips                                                                       The Life Property Management Services, LLC
                                                                                                       Tonya Carter, Agent
                                                                                                       3321 Peppertree Circle Decatur LLC
                                                                                                       Registered Agents Inc, Reg. Agent
                                                                                                       REGISTERED AGENTS INC., Reg. Agent
                                                                                                       REGISTERED AGENTS INC
                                                                                                       NORTHWEST REGISTERED AGENT, LLC., Reg. Agent
   (b)   COUNTY OF RESIDENCE OF FIRST LISTED                                                          COUl'iTY OJ' RESIDENCE OF FIRST LISTED
         PLAINTIFF       DEKALB                                                                       DEFENDAl'iT_____________________
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                       NOTE: IN LAND CONDEMNATION CASES. USE THE LOCAnON OF TilE TRACT OF LAND
                                                                                                       INVOINED

  (c) ATTORNEYS                   (FIRM NAME. ADDRESS, TELEPHONE NUMBER, AND                           ATTORNEYS                (IFKNOW:'<)
                                   E-MAIL ADDRESS)

          3308 Peppertree Circle, Apt. D
          Decatur, Georgia [30034]
          Cell: 678-596-3499
          Email: hip123456@yahoo.com



II. BASIS OF JURISDICTION                                                             III. CITIZENSHIP OF PRINCIPAL PARTIES
       (PLACE AN "X" 1:'< ONE BOX ONLY)                                                     (pLACE A:>I "X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                                 (FOR DIVERSITY CASES ONLY)

                                                                                      PLF       DEF                             PLF        DEF

o     I u.s. GOVERNMENT
        PLAINTIFF
                            [Zh   FEDERAL QUESTION
                                  (U.S. GOVERNMENT NOT A PARTY)
                                                                                     01     0 1 CITIZEN OF TIllS STATE         04          D4    INCORPORATED OR PRINCIPAL
                                                                                                                                                 PLACE OF BUSINESS IN THIS STATE

0 2 U$. GOVERNMENT
    DEFEI'iDANT
                            04     DIVERSITY
                                  (INDICATE CITIZENSHIP OF PARTIES
                                                                                     D2     O    2 CITIZEN OF ANOTHER STATE 0      5       Os    INCORPORATED AND PRINCIPAL
                                                                                                                                                 PLACE OF BUSINESS 1:>1 ANOTIIER STATE
                                   IN ITEM HI)
                                                                                     D3     D3 CITIZEN OR SUBJECT OF A         06          06    FOREIG:'< NATION
                                                                                               FOREIGN COUNTRY


IV. ORIGIN              (PLACEA:'<"X"INONEBOXONLY)
                                                                                                         TRANSFERRED FROM              0    MULTIDISTRICTO APPEALTODISTRICTJUDGE
  010RIGISAL    0 2 REMOVED FROM                   0 3 REMANDED FROM O                4 REINSTATED OR D 5A:>IOTHERDlSTRICT                 6LmGATlON·     7 FROM MAGISTRATE JUDGE
     PROCEEDING     STATE COURT                       APPELI.ATECOURT                   REOPENED            (Specity District)              TRANSFER        JUDGMENT

         MULTIDISTIIICT
  D    8 LITIGATION·
         DIRECT FILE


V. CAUSE OF ACTI ONJt:RISDICTIONAL
                    (CITE TilE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILISG AND WRITE A BRIEF STATEMENT OF CAUSE· DO NOT CITE
                                      STATUTES UNLESS DIVERSITY)

       42 U.S.C §1983
       Deprivation of rights under color of state law



(IF COMPLEX, CHECK REASON BELOW)

   o 1. Unusually large number of parties.                                             o 6. Problems locating or preserving evidence
   D 2.     Unusually large number of claims or defenses.                              07.       Pending parallel investigations or actions by government.
    03.     Factual issues arc exceptionally complex                                   o    8. Multiple use of experts.
    D 4.    Greater than nonnal volume of evidence.                                    D 9. Need for discovery outside United States boundaries.
    D 5.    Extended discovery period is needed.                                       Do. Existence of highly technical issucs and proof.

                                                                                    CONTINUED ON REVERSE
FOROFJI'ICE liSE ONLY
                                                                                                                _ __          MAG..WOOI! (lJIP) ____......;.__---:--~
~#~------~                         . A¥OONT. $.~-------.,....                               APPLYING~~",="",,
JUI.)(l£._ _ _ _ __
                                   MAG. JUDGB.............,.,....",.......,,.-_ _                          I...· ___- . . .
                                                                                            NAUJRBOlIstJir...                 CAUSISOF ACTION__............-'""_ __
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::::;::~::.:::~:: •• I,fu~.".                                        ~~~,~~2:~~=~~~'''fP~':",~U9,.:. ~,l:Q~e.l'"
                                Case 1:20-cv-00812-SDG Document 1-1 Filed 02/21/20 Page 2 of 4

                                                _wood h.... ".w
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS A1TACH ED)


I. (a) PLAINTIFF(S)                                                                             DEFENDANT(S)
         byron-wendell:phillips                                                                 Bill Havre, CEO
                                                                                                QUICK DROP IMPOUNDING,TOWING & RECOVERY,
                                                                                                INC.
                                                                                                Tenesha Thomas, Registered Agent
                                                                                                JOHN DOE, Tow Truck Driver
                                                                                                Curtis McMurray, CEO
                                                                                                DeKalb, County of
   (b)   COUNTY OF RESIDENCE OF FIRST LISTED                                                  COUNTY OF RESIDENCE OF FIRST USTED
         PLAINTlFF _ _ _ _ _ _ _ _ _ __                                                       DEFENDANT_ _ _ _ _ _ _ _ ____
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                    (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                N01'E: IN LAND CONDEMNA T10~ CASES, USE THE LOCATION OF TIlE TRACT OF LA!'!D
                                                                                                INVOLVED

   (c) ATTORNEYS (FIRM NAME,ADDRESS, TELEPHONE NEMBER.AND                                       ATTORNEYS                 (IF KNOWN)
                                      E-MAIL ADDRESS)




n. BASIS OF JURISDICTION                                                      In. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN   "X~   IN ONE BOX ONLY)                                            (PLACE AN "X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                       (FOR DIVERSITY CASES ONLy)

                                                                              PLF    DEF                                  PLF          DEF

0 1 U.S. GOVERNMENT             0 3 FEDERAL QUESTION                      01        0 1 CITIZEN OF THIS STATE            04            04      INCORPORATED OR PRINCIPAL
    PLAINTIFF                       (U.S. GOVERNMENT NOT A PARTY)                                                                              PLACE OF BUSINESS IN TillS STATE

0 2 U.s. GOVERNMENT             0 4 DIVERSITY                             O    2    0 2 CITIZEN OF ANOTHER STATE 0             5       0   5   INCORPORATED AND PRINCIPAL
    DEFENDANT                       (INDICATE CITIZENSHIP OF PARTIES                                                                           PLACE OF BUSINESS IN ANomER STATE
                                     IN ITEM III)
                                                                          03        0 3 CITIZEN OR SUBJECT OF A          06            06      FOR~;IGN   NATION
                                                                                        FOREIGN COUNTRY


IV. ORIGIN                  (pLACE AN "X "IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM           0     MULT1DISTRICT 0         APPEAL TO DISTRICT JUDGE
   OIORlGlNAL    0 2 REMOVED FROM                 03REMANDEDFROM O            4 REINSTATED OR 0       5 ANOTHER DISTRICT               6 LITIGATION -        7   ~'ROM MAGISTRATE JUDGE
      PROCEEDING     STATE COURT                     APPELLATE COURT            REOPENED                  (Specify District)             TRANS}'ER               JUDGMENT

        MULTIDISTRICT
  O   8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTION .JURISDICTIONAL
                     (CITE THE U.S. CIVILSTATIITE UNDER WHICH YOU ARE FILING AND WRJTE A BRJEFSTATEMENTOFCAUSE
                                      STATUTES UNLESS DIVERSITY)
                                                                                                                                                             DONOTCITE




(IF COMPLEX, CHECK REASON BELOW)

    o I. Unusually large number of parties.                                    o    6. Problems locating or preserving evidenee
    02. Unusually large number of claims or defenses.                          07.     Pending parallel investigations or aetions by government.
    03. Factual issues are exceptionally complex                               o 8. Multiple use of experts.
    04. Greater than normal volume of evidence.                                09.      Need for discovery outside United States boundaries.
    0 5. Extended diseovery period is needed.                                  Do.     Existenee of highly technical issues and proof.


                                                                       CONTINUED ON REVERSE
: FOIl OF'l"lCl: USE ONLY
:llECBll'T# ....._ _ ___                                                            APPLYJ:NQIFP _ _ _ __
                                                                                                                        ·MAG. J(JI)GH.(lllP)~_~..,....._ _
I JUDGE,_ _-'""'_ _....                                                                                                  CAUSF. OFACTION•..._-___.,;...._ _
                                                                                    NA1tllU!(lF SM....
                                                                                                  · ....- ' - _......
JS44 (Rev. 612017 NDGA)
                            Case 1:20-cv-00812-SDG Document 1-1 Filed 02/21/20 Page 3 of 4
                                                 CIVILCOVERSHEET                                                      1 : 2a-cv- 0812
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the pnrpose of initiating the civil docket record. (SEE INSTRUCTIONS ATIACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         byron-wendell :phillips                                                                 Jeffrey L. Mann, Esq., Dekalb County Sheriff
                                                                                                 (Individual Capacity)
                                                                                                 James W. Conroy, Dekalb County Police Chief
                                                                                                 (Individual Capacity)
                                                                                                 Officer Morgan, South Precinct (Individual Capacity)
                                                                                                 Officer Harris, Badge #3303 South Precinct
                                                                                                 (Individual Capacity)
   (b)   COUNTY OF RESIDENCE OF FIRST LISTED                                                   COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF_ _ _ _ _ _ _ _ _ __                                                         DEFENDANT_ _ _ _ _ _ _ _ __
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONL V)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE WCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDREss, TELEPHONE NUMBER, AND                                       ATTORNEYS                  (IF KNOWN)
                                   E-MAIL ADDRESS)




II. BASIS OF JURISDICTION                                                     III. CITIZENSIDP OF PRINCIPAL PARTIES
      (PLACE AN "X" IN ONE BOX ONLY)                                                 (PLACE A;'II "X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                           (FOR DIVERSITV CASES ONL V)

                                                                              I'LF     DEF                                 PLF      DE.'

0,   u.s. GOVERNMENT
     PLAINTIFF
                             03    FEDERAL QUESTION                         0, 0,            CITIZEN OF THIS STATE        04 04             INCORPORATED OR PRINCIPAL
                                   (U.S. GOVERil1MENT NOT A PARTV)                                                                          PLACE OF BUSINESS IN THIS STATE

01   u.s. GOVERNMENT
     DEFENDANT
                             04    DIVERSITV
                                  (INDICATE cmZENSHIP OF PARTIES
                                                                            OZ 02            CITIZEN OF ANOTHER STATED 5           OS       INCORPORATED AND PRINCIPAL
                                                                                                                                            PLACE OF BUSINESS IN ANOTHER STATE
                                   IN ITEMlII)
                                                                            03 03            CITIZEN OR SUBJECT OF A
                                                                                             FOREIGN COUNTRY
                                                                                                                          06 06             FOREIGN NATION



IV. ORIGIN             (PLACE AN "X "IN ONE BOX ONLY)
                                                                                                TRANSFERRED FROM 0 MULTIDISTRICT 0 APPEAL TO DISTRICT JUDGE
   01    ORIGINAL
         PROCEEDING
                       02   REMOVED FROM
                            STATE COURT
                                                03   REMANDED FROM
                                                     APPELLATE COURT
                                                                               REINSTATED OR 0 5ANOTHERDISTRICT
                                                                           O 4 REOPENED           (Sp«iry Dlstrict)
                                                                                                                    6 LITIGATION-
                                                                                                                      TRANSFER
                                                                                                                                  7 FROMMAGISTRATEJUI)(;E
                                                                                                                                    JUDGMENT


  O8 MULTIDISTRICT
     LITIGATION-
     DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDERWHlCHVOUARE FILING AND WRITE A BRIEFSTATEMENTOFCAUSE
                                    STATUTES UNLESS DIVERSITY)
                                                                                                                                                           DONOTCITE




(IF COMPLEX, CHECK REASON BELOW)

   o     1. Unusually large nwnber of parties.                                  o 6. Problems locating or preserving evidence
   02.     Unusually large number of claims or defenses.                        o    7. Pending parallel investigations or actions by government.
   03.     Factual issues are exceptionally complex                             o 8. Multiple use of experts.
   04. Greater than normal volume of evidence.                                  09.      Need for discovery outside United States boundaries.
   0 5. Extended discovery period is needed.                                    Do.      Existence of highly technical issues and proof
                             Case 1:20-cv-00812-SDG Document 1-1 Filed 02/21/20 Page 4 of 4
VI. NATURE OF SUIT (PLACE AN "X" IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK           CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                    SOCIAL SECURITY - "0" MONTHS DISCOVERY
    o 150 RECOVERY OF OVERPAYMENT &                   .f    440 OTHER CIVIL RIGHTS                           TRACK



                                                                                                             ~EI
           ENFORCEMENT OF JUDGMENT                          441 VOTING                                                 861   HIA (1395ft)
    0152 RECOVERY OF DEFAULTED STUDENT                      442 EMPLOYMENT                                             862   BLACK LUNG (923)
          LOANS (ExcJ. Veterans)                            443 HOUSINGI ACCOMMODATIONS                                863   DIWC (405(g»
    0153 RECOVERY OF OVERPAYMENT OF                         445 AMERICANS with DISABILITIES - Employment               863   DIWW (405(g»
          VETERAN'S BENEFITS                                446 AMERICANS with DISABILITIES - Other                    864   SSID TITLE XVI
                                                     o      448 EDUCATION                                              865   RSI (405(g»

    §
CONTRACT - "4" MONTHS DISCOVERY TRACK
         110 INSURANCE                                                                                       FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
         120 MARINE                             IMMIGRATION - "0" MONTHS DISCOVERY TRACK
                                                                                                             --n
                                                                                                             TRACK

    o
         130 MILLER ACT
         140 NEGOTIABLE INSTRUMENT                   El     462 NATURALIZATION APPLICATION
                                                            465 OTHER IMMIGRATION ACTIONS                      o       870 TAXES (US. Plaintiff or Defendant)
                                                                                                                       871 IRS - THIRD PARTY 26 USC 7609




    ~
         151 MEDICARE ACT
         160 STOCKHOLDERS' SUITS                PRISONER PETITIONS - "0" MONTHS DISCOVERY                    OTHER STATUTES - "4" MONTHS DISCOVERY
         190 OTHER CONTRACT                     TRACK                                                        TRACK
                                                -~
                                                                                                             B
         195 CONTRACT PRODUCT LIABILITY                     463 HABEAS CORPUS- Alien Detainee                          375 FALSE CLAIMS ACT
         196 FRANCHISE                                      510 MOTIONS TO V ACA TE SENTENCE                           376 Qui Tam 31 USC 3729(,)
                                                            530 HABEAS CORPUS                                           400 STATE REAPPORTIONMENT




                                                                                                                  ~
REAL PROPERTY - "4" MONTHS DISCOVERY                        535 HABEAS CORPUS DEATH PENALTY                             430 BANKS AND BANKING
TRACK                                                       540 MANDAMUS & OTHER                                        450 COMMERCE/ICC RA TESIETC
-~ 210 LAND CONDEMNATION                                    550 CIVIL RIGHTS - Filed Pro se                             460 DEPORTATION
         220 FORECLOSURE                                    555 PRISON CONDITION(S) - Filed Pro se                      470 RACKETEER INFLUENCED AND CORRUPT
         230 RENT LEASE & EJECTMENT                  o      560 CIVIL DETAINEE: CONDITIONS OF                                ORGANIZATIONS
         240 TORTS TO LAND
         245 TORT PRODUCT LIABILITY
         290 ALL OTHER REAL PROPERTY
                                                                CONFINEMENT

                                                PRISONER PETITIONS - "4" MONTHS DISCOVERY
                                                TRACK
                                                                                                                  §     480 CONSUMER CREDIT
                                                                                                                        490 CABLE/SA TELLITE TV
                                                                                                                        890 OTHER STATUTORY ACTIONS

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK
                                                ---0
                                                     o      550 CIVIL RIGHTS - Filed by Counsel
                                                            555 PRISON CONDITION(S) - Filed by Counsel
                                                                                                                  EI    891 AGRICULTURAL ACTS
                                                                                                                        893 ENVIRONMENTAL MATTERS
                                                                                                                        895 FREEDOM OF INFORMATION ACT
                                                                                                                  EI
    ~
         310 AIRPLANE                                                                                                   899 ADMINISTRATIVE PROCEDURES ACT I
         315 AIRPLANE PRODUCT LIABILITY         FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                                    REVIEW OR APPEAL OF AGENCY DECISION
         320 ASSAULT, LIBEL & SLANDER           TRACK                                                             D    950 CONSTITUTIONALITY OF STATE STATUTES
         330 FEDERAL EMPLOYERS' LIABILITY       -----,::] 625 DRUG RELATED SEIZURE OF PROPERTY
                                                                                                             OTHER STATUTES - "8" MONTHS DISCOVERY




    ~
         ;:~ ~=
                                                               21 USC 881
                  PRODUCT LIABILITY                  D 690 OTHER                                             TRACK
      350 MOTOR VEHICLE
      355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
                                                                                                             -----cr
                                                                                                                 D 850
                                                                                                                       410 ANTITRUST
                                                                                                                           SECURITIES I COMMODITIES I EXCHANGE
      360 OTHER PERSONAL INJURY                      o      710 FAIR LABOR STANDARDS ACT
                                                                                                             OTHER STATUTES - "0" MONTHS DISCOVERY
                                                     §
      362 PERSONAL INJURY - MEDICAL                         720 LABORlMGMT. RELATIONS
          MALPRACTICE                                       740 RAILWAY LABOR ACT                            TRACK
    0365 PERSONAL INJURY - PRODUCT LIABILITY
    o
                                                            751 F AMIL Y and MEDICAL LEAVE ACT               ---rr     896 ARBITRATION
      367 PERSONAL INJURY - HEALTH CAREl
           PHARMACEUTICAL PRODUCT LIABILITY
    0368 ASBESTOS PERSONAL INJURY PRODUCT
                                                     El     790 OTHER LABOR LITIGATION
                                                            791 EMPL RET INC. SECURITY ACT
                                                                                                                           (Confirm I Vacate I Order I Modify)


           LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY

TORTS - PERSONAL PROPERTY - "4" MONTHS
                                                TRACK
                                                ----,:""l   820 COPYRIGHTS
                                                                                                             * PLEASE NOTE DISCOVERY
DISCOVERY TRACK
    0370 OTHER FRAUD
                                                     o      840 TRADEMARK                                         TRACK FOR EACH CASE TYPE.
                                                                                                                  SEE LOCAL RULE 26.3
    0371 TRUTH IN LENDING                       PROPERTY RIGHTS - "8" MONTHS DISCOVERY
      380 OTHER PERSONAL PROPERTY DAMAGE        TRACK
    El385 PROPERTY DAMAGE PRODUCT LIABILITY     ----r::I
                                                     o      830 PATENT
                                                            835 PATENT-ABBREVlATEDNEW DRUG
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                          APPLICATIONS (ANDA) - alk/.
         422 APPEAL 28 USC 158                                   Hatch-Waxman cases
    El   423 WITHDRAWAL 28 USC 157




VII. REQUESTED IN COMPLAINT:
  D CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23                  DEMAND $                      75,000
JURY DEMAND        It] YES   D NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)
VIII. RELATEDIREFILED CASE(S) IF ANY
         JUDGE________________________                                      DOCKET NO.________________

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES:                            (CHECK APPROPRIATE BOX)
    D    I. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    D    2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    D    3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    D    4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
            BANKRUPTCY JUDGE.
    D    5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
    D    6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




    D    7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                               ,WHICH WAS
            DISMISSED. Thiscase 0 IS 0 IS NOT (cbeckone box) SUBSTANTIALLY THE SAME CASE.
